June 26, 2009


Mr. Michael Phillips
Phillips &amp; Akers, P.C.
3200 Southwest Freeway, Suite 3200
Houston, TX 77027-7523


Honorable Gloria A. Saldana
224th District Court Judge, Bexar County
100 Dolorosa St., Ste. 400
San Antonio, TX 78205-3028
Mr. W. Burl Brock
Brock &amp; Brock, P.C.
803 E. Mistletoe
San Antonio, TX 78212

RE:   Case Number:  08-0584
      Court of Appeals Number:  04-08-00469-CV
      Trial Court Number:  2007-C118427

Style:      IN RE  MACY'S TEXAS, INC.

Dear Counsel:

      Today the Supreme Court of Texas delivered the enclosed opinion in the
above-referenced cause.  The stay order issued October 10, 2008 is lifted.


                                       Sincerely,
                                       [pic]


                                       Blake A. Hawthorne, Clerk


                                       by Claudia Jenks, Chief Deputy Clerk
Enclosure
|cc:|Ms. Margaret G.        |
|   |Montemayor             |
|   |Mr. Keith E. Hottle    |

